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AO 245B (Mod. D/NJ 12/06) Sheet 1 -Judgment in a Criminal Case




                                                          UNITED STATES DISTRICT COURT
                                                                District of New Jersey


  UNITED STATES OF AMERICA

             V.
                                                                            CASE NUMBER      2:18-CR-00379-JMV-1
 GERMAINE H. KING

            Defendant.


                                                          JUDGMENT IN A CRIMINAL CASE
                                               (For Offenses Committed On or After November 1, 1987)


            The defendant, GERMAINE H. KING, was represented by KENNETH W. KAYSER, ESQ.

The defendant was found guilty on count(s) 1,2,3,4,5,6, 7,8,9, 10, 11, 12, 13, 14, 15 by a jury verdict on 6/20/2019 after a plea
of not guilty. Accordingly, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                                                   Count
 Title & Section                Nature of Offense                                             Date of Offense      Number(s)

 18:1349                         CONSPIRACY TO COMMIT BANK AND MAIL FRAUD                     3/2014 - 7/2015      1

 18:1344 AND 2                  BANK FRAUD                                                    5/12/2014            2-3

  18:1344 AND 2                 BANK FRAUD                                                    5/19/2014            4

  18:1349                       CONSPIRACY TO COMMIT MAIL FRAUD                               2/2017-7/2017        5

 18:1341, 1349                  MAIL FRAUD                                                    2/27/2017            6-9
 AND2

 18:1341, 1349                   MAIL FRAUD                                                   3/9/2017             10
 AND2

 18:1341, 1349                   MAIL FRAUD                                                   4/4/2017             11
 AND2

 18:1341, 1349                  MAIL FRAUD                                                    5/2/2017             12
 AND2

 18:1341, 1349                   MAIL FRAUD                                                   5/9/2017             13
 AND2

 18:1341, 1349                  MAIL FRAUD                                                    6/21/2017            14
 AND2

 18:1341, 1349                   MAIL FRAUD                                                   6/22/2017            15
 AND2


       As pronounced on January 07, 2020, the defendant is sentenced as provided in pages 2 through 9 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
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         It is ordered that the defendant must pay to the United States a special assessment of $1,500.00 for count(s)
1,2,3,4,5,6,7,8,9,10,11,12,13,14,15, which shall be due immediately. Said special assessment shall be made payable to
the Clerk, U.S. District Court.

        It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

            Signed this~ day of January, 2020.




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AO 245B (Mod. D/NJ 12/06) Sheet 2 - Imprisonment


                                                                                     Judgment- Page 3 of 9
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                                                        IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 70 months on each of Counts 1 through 15, all terms to be served concurrently.

        The Court makes the following recommendations to the Bureau of Prisons: It is recommended that Defendant be
considered for the Bureau of Prisons Inmate Financial Responsibility Program {IFRP).

        The defendant will surrender for service of sentence at the institution designated by the Bureau of Prisons upon
designation.




                                                          RETURN

            I have executed this Judgment as follows:




      Defendant delivered on _ _ _ _ _ _ _ _ _ _ _ _ _ To _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
At _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this Judgment.




                                                                              United States Marshal
                                                                          By _ _ _ _ _ _ _ _ _ __
                                                                               Deputy Marshal
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AO 2458 (Mod. D/NJ 12/06) Sheet 3 - Supervised Release


                                                                                             Judgment - Page 4 of 9
Defendant: GERMAINE H. KING
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                                                         SUPERVISED RELEASE

        Upon release from imprisonment, you will be on supervised release for a term of 5 years on each of Counts 1
through 4 and terms of 3 years on each of Counts 5 through 15, all such terms to run concurrently.

         Within 72 hours of release from custody of the Bureau of Prisons, you must report in person to the Probation Office
in the district to which you are released.

         While on supervised release, you must not commit another federal, state, or local crime, must refrain from any
unlawful use of a controlled substance and must comply with the mandatory and standard conditions that have been adopted
by this court as set forth below.

        Based on information presented, you are excused from the mandatory drug testing provision, however, you may be
requested to submit to drug testing during the period of supervision if the probation officer determines a risk of substance
abuse.

            You must cooperate in the collection of DNA as directed by the probation officer

        If this judgment imposes a fine, special assessment, costs, or restitution obligation, it is a condition of supervised
release that you pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release.

            You must comply with the following special conditions:

            FINANCIAL DISCLOSURE

            Upon request, you must provide the U.S. Probation Office with full disclosure of your financial records, including co-
            mingled income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the
            financial accounts reported and noted within the presentence report, you are prohibited from maintaining and/or
            opening any additional individual and/or joint checking, savings, or other financial accounts, for either personal or
            business purposes, without the knowledge and approval of the U.S. Probation Office. You must cooperate with the
            U.S. Probation Officer in the investigation of your financial dealings and must provide truthful monthly statements
            of your income. You must cooperate in the signing of any authorization to release information forms permitting the
            U.S. Probation Office access to your financial records.

            NEW DEBT RESTRICTIONS

            You are prohibited from incurring any new credit charges, opening additional lines of credit, or incurring any new
            monetary loan, obligation, or debt, by whatever name known, without the approval of the U.S. Probation Office. You
            must not encumber or liquidate interest in any assets unless it is in direct service of the fine and/or restitution
            obligation or otherwise has the expressed approval of the Court.

            SUPPORTING DEPENDENTS

            If you are Court-ordered to make child support payments or to make payments to support a person caring for a
            child, you must make the payments and comply with the other terms of the order.
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AO 2458 (Mod. 0/NJ 12/06) Sheet 3a - Supervised Release


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                                                 STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.


1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
   of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
   within a different time frame.

2) After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
   how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
   permission from the court or the probation officer.

4) You must answer truthfully the questions asked by your probation officer.

5) You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
   living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
   the probation officer within 72 hours of becoming aware of a change or expected change.

6) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
   probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
   view.

7) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses you from doing so. If you do not have fulltime employment you must try to find full-time employment, unless
   the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
   (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
   circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
   change.

8) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
   has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
   the permission of the probation officer.

9) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e ..
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or tasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified the person about the risk.
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    AO 2458 (Mod. D/NJ 12/06) Sheet 3a - Supervised Release


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                                                     STANDARD CONDITIONS OF SUPERVISION

    13) You must follow the instructions of the probation officer related to the conditions of supervision.




1
                           For Official Use Only - - - U.S. Probation Office
1---------------------------------------------------------------------------------
       Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
    or (2) extend the term of supervision and/or modify the conditions of supervision.

       These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them.

      You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
    associate Probation Officers.

                                         (Signed)._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                           Defendant                        Date



                                                              U.S. Probation Officer/Designated Witness                   Date
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AO 245B (Mod. O/NJ 12/06) Sheet 6 - Restitution and Forfeiture


                                                                                                    Judgment - Page 7 of 9
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                                                                 RESTITUTION AND FORFEITURE


                                                                        RESTITUTION

          The defendant shall make restitution in the amount of $597,780.99. The Court will waive the interest requirement
in this case. Payments should be made payable to the U.S. Treasury and mailed to Clerk, U.S.D.C., 402 East State Street,
Rm 2020, Trenton, New Jersey 08608, for proportionate distribution to the following victims in the following amounts:

             Name of Payee (Victim)                                                       Amount of Restitution

             Bentley Financial Services                                                   $93,235.99
             d/b/a Porsche Financial Services
             885 Third Avenue
             New York, NY 10022

            Municipal Credit Union of New York City                                       $61,845.00
            2 Lafayette Street
            New York, NY 10007

            Shellpoint Mortgage Servicing                                                 $432,000.00
            P.O. Box 740039
            Cincinnati, OH 45274-0039

             Home Depot Credit Services                                                   $1,700.00
             P.O. Box 9001010
             Louisville, KY 40290-1010


             Macy's                                                                       $9,000.00
             P.O. Box 9001094
             Louisville, KY 40290-1094


The amounts ordered represent the total amounts due to the victims for these losses. The defendant's restitution obligations
shall not be affected by any restitution payments made by other defendants in this case, except that no further payments
will be required once payment(s) by one or more defendants fully satisfies the victims' total losses. The following
defendant(s) in the following case(s) may be subject to restitution orders to the same victims for these same losses:

               Melissa Reynolds                                                       2018cr68701



               Daniel Kusi, formerly known as:
               "Danny D. Dxrams",
               "Daniel K. Dxrams",
               "Randy N. Amoateng."                                                   2018cr379-02
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AO 245B (Mod. D/NJ 12/06) Sheet 6 - Restitution and Forfeiture


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         The restitution is due immediately. It is recommended that you participate in the Bureau of Prisons Inmate Financial
Responsibility Program (IFRP). If you participate in the IFRP, the restitution will be paid from those funds at a rate equivalent
to $25 every 3 months. In the event the entire restitution is not paid prior to the commencement of supervision, you must
satisfy the amount due in monthly installments of no less than $200.00, to commence 30 days after release of confinement.




        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost
of prosecution and court costs.
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AO 2458 (Mod. D/NJ 12/06) Sheet 6 - Restitution and Forfeiture


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                                                                 RESTITUTION AND FORFEITURE


                                                                        FORFEITURE


                         : Judgment and Order of Forfeiture (Money Judgment) filed under separate order.




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monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost
of prosecution and court costs.
